Case 1:15-cv-07433-LAP Document 1001 Filed 10/30/19 Page 1 of 2

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October 30, 2019
VIA ECF

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re:  Giuffre v. Dershowitz, Case No. 19-Civ-3377-LAP
Response to Letter Filed by John Doe

Dear Judge Preska,

Defendant Alan Dershowitz (hereinafter “Mr. Dershowitz”) respectfully writes the Court
in response to the letter filed counsel to “John Doe” (hereinafter “Mr. Doe”) today in Giuffre v.
Maxwell, Case No. 15-Civ-07433-LAP, [Dkt. No. 999] raising objection to Mr. Dershowitz’s
request to engage in discrete pre-Answer discovery in the instant matter, to wit, requesting the
unsealing of Plaintiff's deposition testimony, along with corresponding exhibits, in the Giuffre v.
Maxwell case, and Edwards et al v. Dershowitz Case No.: CACE 15-000072 (Cir. Ct. Broward
Cnty., Fla.).

By filing the instant lawsuit against Mr. Dershowitz, Plaintiff has “opened the door” and
put at issue her prior statements, testimony, pleadings, filings, conduct and actions as they relate
to Mr. Dershowitz and the allegations she has made against him. Perhaps most critical of this
material, is the prior sworn testimony she has given in collateral yet clearly related matters.

Plaintiff's deposition testimony, along with the corresponding exhibits, are necessary and
material evidence that Mr. Dershowitz requires in order to answer the allegations made by the
Plaintiff in her Complaint, and also filing his own Counterclaims. To deny Mr. Dershowitz
access to this material will be prejudicial to his defense and an impediment to Mr. Dershowitz
interposing his Counterclaims against the Plaintiff.

Mr. Dershowitz does not seek to circumvent the unsealing process Your Honor is
conducting in the Giuffre v. Maxwell matter as Mr. Doe’s counsel claims. However, these
circumstances call for the Court’s discretionary unsealing of the limited material Mr. Dershowitz
seeks. Faced with the task of Answering the allegations made against him that he has
Case 1:15-cv-07433-LAP Document 1001 Filed 10/30/19 Page 2 of 2

categorically denied since they have made, and exercising his own right to file Counterclaims
against the Plaintiff, he is placed in an onerous position, where material critical to his defense
and his own claims remain sealed.

Nor can one claim this is a fishing expedition. We know that material exists in the Giuffre
v. Maxwell case that will be of substantial assistance to Mr. Dershowitz in preparation of his
responsive pleading. One example, is the email between journalist Sharon Churcher and the
Plaintiff that states there was “no proof” that Mr. Dershowitz engaged in sexual misconduct and
that his name is good for a book “pitch”.

~~ On Wed, CLS/1L, Sharon.Churcher@niaiousundsy.co.uk “Sharon. Churchengmuilonsunday.cauk> woote:

From: Sharon. Churcher@:mailonsunday co.uk <Sharon. Churcher@imailonsunday co.uk
Subject: Re: Gaod News!
To: “Virginia Giuffitc" < 7 _
Received: Wednesday, 11 May, 2011, 417 PM
Don't forget Alan Dershowitz. JE’s buddy and lawyer..good name for your
pitch as he repped Claus von Bulow and a movie was made about that
case.title was Reversal of Fortune. We all suspect Alan is a pedo and tho
no proof of that, you probably met him when he was hanging put w JE

To the extent counsel for Mr. Doe believes there is a basis for Plaintiffs testimony
relating to their client be kept confidential, it is not a reason to delay requiring the Plaintiff from
producing the pre-Answer discovery Mr. Dershowitz has requested.

To the contrary, counsel for Mr. Doe should address any specific concerns about
testimony which mentions Mr. Doe directly to us in the first instance, so we can see if we can
accommodate any legitimate concerns by agreement. If not, then the matter as to that limited
testimony will need to be resolved by the Court. In the interim, we will agree to refer to John
Doe only as John Doe in any filing. Certainly, under no circumstances should any alleged
concerns of Mr. Doe delay the discovery we seek that does not mention him. (See, Foltz v State
Farm Mut. Auto. Ins. Co., 331 F3d 1122, 1131-32 [9th Cir 2003] “[A/ collateral litigant's
request to the issuing court to modify an otherwise proper protective order so that collateral
litigants are not precluded from obtaining relevant material should generally be granted. ”)

Mr. Dershowitz respectfully requests that the Court maintain its previous order dated
October, 25, 2019 [Dkt. No. 72] regarding Mr. Dershowitz’s October 24, 2019 Rule 2.A request
[Dkt. No. 71].

  

 

 

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CC: Counsel of Record via ECF (Giuffre v. Dershowitz, Case No. 19-Civ-33 77-LAP)
Counsel of Record via ECF (Giuffre v. Maxwell, Case No. 15-Civ-07433-LAP)
